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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA                          )

vs.                                               )   CR. NO. 2:08cr121-WHA-01

KENNETH JENKINS                                   )


                                             ORDER

        This case is before the court on a letter received on January 22, 2010, which has been

docketed as a Motion to Reduce Sentence (Doc. #681).

        By this motion, the Defendant requests that he be given credit against his term of

imprisonment for the time he spent in home detention pending his self-surrender to a federal

prison institution.

        Program Statement, Sentence Computation Manual, Federal Bureau of Prisons, pages 1-

14G-1-14H specifically provides that “house arrest . . . is not considered as time in official

detention.”

        The Eleventh Circuit Court of Appeals, in Rodriguez v. Lamer, 60 F.3d 745, 748 (11th

Cir. 1995) addressed the question of credit for presentence confinement under 18 U.S.C. §

3585(b) (Calculation of a term of imprisonment - (b) Credit for prior custody) and rejected the

characterization of pretrial home confinement as “official detention” for purposes of awarding

sentencing credit. See also, Dawson v. Scott, 50 F.3d. 884, 888 (11th Cir. 1995) (“[W]e have

joined other circuits that have determined that custody or official detention time is not credited

toward a sentence until the convict is imprisoned, and that release stipulations or imposed
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conditions that do not subject a person to full physical incarceration do not qualify as official

detention.”); United States v. Clemons, 228 F.Appx. 888, 890 (11th Cir. 2007).

       Since the law does not allow home detention to be credited against a term of

imprisonment, it is hereby

       ORDERED that the motion is DENIED.

       DONE this 2nd day February, 2010.



                                              /s/ W. Harold Albritton
                                              W. HAROLD ALBRITTON
                                              SENIOR UNITED STATES DISTRICT JUDGE
